1H

                               UNITED STATES BANKRUPTCY COURT
                                                        DISTRICT OF HAWAII


In re: LIANE N. WILSON                                                                                  Case No.: 10-02786

                Debtor(s)

                   CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Howard M.S. Hu, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 09/09/2010.
2) The plan was confirmed on NA.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was dismissed on 12/16/2010.
6) Number of months from filing or conversion to last payment: 1.
7) Number of months case was pending: 6.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 21,818.58.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:            $7,972.72
       Less amount refunded to debtor:                      $6,204.76
 NET RECEIPTS:                                                                  $1,767.96

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                 $1,600.00
       Court Costs:                                                                 $.00
       Trustee Expenses and Compensation:                                       $167.96
       Other:                                                                       $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $1,767.96

 Attorney fees paid and disclosed by debtor:              $1,000.00




 Scheduled Creditors:
Creditor                                                     Claim             Claim               Claim       Principal            Interest
Name                                        Class            Scheduled         Asserted            Allowed     Paid                 Paid
NA                                          NA                          NA            NA               NA              .00                 .00

 Summary of Disbursements to Creditors:                                                            Claim       Principal            Interest
                                                                                                   Allowed     Paid                 Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00             .00                 .00
     Mortgage Arrearage:                                                                               .00             .00                 .00
     Debt Secured by Vehicle:                                                                          .00             .00                 .00
     All Other Secured:                                                                                .00             .00                 .00
 TOTAL SECURED:                                                                                        .00             .00                 .00

 Priority Unsecured Payments:
       Domestic Support Arrearage:                                                                     .00             .00                 .00
       Domestic Support Ongoing:                                                                       .00             .00                 .00
       All Other Priority:                                                                             .00             .00                 .00
 TOTAL PRIORITY:                                                                                       .00             .00                 .00
               U.S. Bankruptcy        Court - Hawaii #10-02786 Dkt # 30 Filed 03/30/11 Page 1 of 2
Page 1 of 1                                                                                                     UST Form 101-13-FR-S (9/1/2009)
1H

                                  UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF HAWAII


In re: LIANE N. WILSON                                                                                   Case No.: 10-02786

                 Debtor(s)


 TOTAL PRIORITY:
                     CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND .00
                                                                     ACCOUNT .00                                                            .00

 GENERAL UNSECURED PAYMENTS:                                                                            .00             .00                 .00

 Disbursements:
        Expenses of Administration:                                                              $1,767.96
        Disbursements to Creditors:                                                                   $.00
 TOTAL DISBURSEMENTS:                                                                                                              $1,767.96

     12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
     foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
     The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                  Date:      03/30/2011                                     By:   /s/Howard M.S. Hu
                                                                                  Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. Section 1320.4(a)(2) applies.




                U.S. Bankruptcy Court - Hawaii #10-02786 Dkt # 30 Filed 03/30/11 Page 2 of 2
Page 1 of 1                                                                                                      UST Form 101-13-FR-S (9/1/2009)
